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EXHIBIT B
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         ANDERSON & VAUGHN, PLLC              PO Box 517
                                 Louisville, Kentucky 40201-0517
                                      502)637-3335 Telephone
                                      (502)637-2774 Facsimile
                                         www.AVInjury.com
Bruce Garrett Anderson                                                           E. Liddell Vaughn
                                             May 24, 2024

     Email: Rounndupprogram@feinberglawoffices.com
     Kenneth Feinberg
     1455 Pennsylvania Ave., N.W., Ste. 300
     Washington, D.C.

            RE:    Estate of Robert Hammons
                   MDL No. 2741 (N.D.Cal.) Roundup Independent Settlement Program

     Dear Mr. Feinberg:

            We received your letter dated March 15, 2024, in response to the settlement offer of
     January 18, 2024. Please be advised that our client rejects your settlement offer.

            Should you have any questions, please let me know.

                                                 Sincerely,

                                                 /s/ Liddell Vaughn

                                                 Liddell Vaughn


     LV/akm
